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                                ^ UNITED STATES DISTRICT COURT
           f    -g
                     L..'          DISTRICT OF MASSACHUSETTS

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UNITED STATES OF AMERICA                                   CRIMINAL NO.


V.                                                         Violations:


     (1)       PETER MOLLOY, a.k.a. Scooby, and            21 U.S.C. § 846 - Conspiracy to
                                                           Distribute and to Possess with Intent to
     (2)       ADRIAN CARLOS MALDONADO,                    Distribute Methamphetamine
               a.k.a. Carlos,
                                                           21 U.S.C. § 841(a)(1)-Possessionof
Defendants.                                                Methamphetamine with Intent to
                                                           Distribute


                                                           21 U.S.C. § 853 - Drug Asset Forfeiture
                                                           Allegation

                                                           UNDER SEAL


                                             INDICTMENT


COUNT ONE:                  Title 21, United States Code, Section 846 - Conspiracy to Distribute and
                            to Possess with Intent to Distribute Methamphetamine

The Grand Jury charges that:

       From a date unknown to the Grand Jury, but by no later than January 1, 2014, and

continuing thereafter until on or about August 14,2017, in Bostonand elsewhere in the Districtof

Massachusetts, the District of Vermont, and elsewhere,

                                      (1) PETER MOLLOY, and
                                 (2) ADRIAN CARLOS MALDONADO,

defendants herein, did knowingly and intentionally combine, conspire, confederate, and agree,

with each other and with other persons known and unknown to the Grand Jury, to possess with

intent to distribute, and to distribute, a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1).
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